Case 1:13-cv-00134-BMC Document 19-1 Filed 05/20/13 Page 1 of 6 PagelD #: 74

SETTLEMENT AGREEMENT AND GENERAL RELEASE

This Settlement Agreement and General Release (“Agreement”) is entered into between
ALBS Cartage Corp. (*ALBS Cartage”) and Daniel Clarke (“Mr. Clarke”).

WHEREAS, Mr. Clarke was formerly employed by ALBS Cartage; and

WHEREAS, Mr. Clarke filed a civil action against ALBS Cartage in the United States
District Court, Eastern District of New York, Case No. 13-CV-134 (BMC) (the “Civil Action”);
and

WHEREAS, Mr. Clarke was represented by counsel, Abdul K. Hassan, Esq., Attorney
and Counselor at Law, in this matter; and

WHEREAS, Mr. Clarke and ALBS Cartage (collectively, the “Parties”) have agreed to
resolve all matters, disputes, and claims between them pursuant to the terms contained in this
Agreement; and

WHEREAS, as a condition precedent to each party performing its obligations as provided
for herein, the other party has agreed that it will execute this Agreement and fully comply with
its terms; and

NOW THEREFORE, in exchange for the good and valuable consideration received under
this Agreement, the sufficiency of which Mr. Clarke acknowledges, the Parties agree as follows:

1. The parties agree that, by entering into this Agreement, ALBS Cartage does not
admit, and specifically denies, any liability or wrongdoing, or violation of any law, statute,
regulation, or policy. ALBS Cartage asserts that it is entering into this Agreement solely for the
purpose of amicably resolving all matters in controversy, disputes, causes of action, claims,
contentions, and differences of any kind whatsoever between Mr. Clarke and ALBS Cartage.
The parties further agree that there is a bona fide dispute as to the application of the motor carrier
exemption, among other defenses, and the parties believe that, in the circumstances of this case,
the settlement is fair, reasonable. and adequate.

2, Mr. Clarke acknowledges that, other than the Civil Action, he has not filed any
actions, complaints, charges, grievances, arbitrations, or claims against ALBS Cartage or its
divisions, affiliates, subsidiaries, parents, predecessors, successors, assigns, officers, directors,
owners, trustees, employees, agents, stockholders, administrators, representatives, attorneys,
insurers, or fiduciaries in their individual and/or representative capacities (collectively, the
“ALBS Cartage Group”), in any judicial, administrative, or arbitral forum.

3; Mr. Clarke acknowledges that he has been given a period of at least twenty-one
days within which to consider this Agreement, has been advised to, and did, consult with an
attorney before executing this Agreement, and that it is fully his decision whether he chooses to
sign this Agreement before the 21-day period ends. Mr. Clarke agrees that the modifications that
have been made during the negotiations of this Agreement do not restart the 21-day period. Mr.
Case 1:13-cv-00134-BMC Document 19-1 Filed 05/20/13 Page 2 of 6 PagelD #: 75

Clarke has been advised that he has seven days following his execution of this Agreement within
which to revoke his assent (the “Revocation Period”). To be accepted, the revocation must be in
writing, must be delivered to John P. Keil, Esq., Collazo Florentino & Keil LLP, 747 Third
Avenue, 25th Floor, New York, New York 10017, and, if mailed or delivered by overnight
carrier, must be postmarked within seven calendar days of execution of this Agreement.

4. Mr. Clarke acknowledges and agrees that each party is obliged to perform its
obligations as provided for herein only upon expiration of the Revocation Period without his
right to revoke the Agreement having been exercised.

5. Mr. Clarke agrees to withdraw, with prejudice, the pending Civil Action, and to
take all measures necessary to effectuate such withdrawal. The Court’s approval of this
Agreement and dismissal of the action with prejudice are conditions precedent to ALBS Cartage
making any payments or otherwise performing its obligations to, or on behalf of, Mr. Clarke as
provided for in this Agreement.

6. In full and complete settlement and in final satisfaction of any and all claims
which Mr. Clarke had, has, or may have against the ALBS Cartage Group with respect to Mr.
Clarke’s employment with ALBS Cartage, or otherwise, ALBS Cartage agrees to make the
following payments: 1) a payment by check of Ten Thousand, Two Hundred Dollars ($10,200)
payable to Mr. Daniel Clarke; and 2) a payment by check of Nine Thousand Fight-Hundred
Dollars ($9,800) payable to Mr. Abdul K. Hassan, Esq. — Mr. Clarke’s attorney, which represents
full payment of legal fees, costs, and disbursements.

Following the expiration of the Revocation Period without Mr. Clarke having
exercised his right to revoke this Agreement, ALBS Cartage shall petition the Court for approval
of this Settlement Agreement. Mr. Clarke agrees not to oppose the petition. If, and only if, the
Court approves the Agreement and dismisses the action with prejudice, the Company shall
deliver the two settlement checks specified above in settlement of Mr. Clarke’s claims to Abdul
K. Hassan, Esq. Attorney and Counselor at Law, 215-28 Hillside Avenue, Queens Village, NY
11427, within 14 business days of the date of the Court’s order. The appropriate tax documents
concerning this payment shall issue at the proper time. If ALBS Cartage does not make the
above payments to Mr. Clarke or Mr. Hassan within 14 days of the court's approval of the
settlement, Mr. Clarke and Mr. Hassan will be entitled to legal fees, costs, and disbursements
from the Company concerning any effort or action to recover the unpaid settlement monies.

Mr. Clarke acknowledges that the ALBS Cartage Group has made no
representations concerning whether any amounts paid pursuant to this Agreement are subject to
taxation. Mr. Clarke, and not the ALBS Cartage Group, will assume any and all responsibilities
for taxes which may be imposed by any taxing authority in connection with the amounts he
receives pursuant to this Agreement or any other agreement. Mr. Clarke agrees to indemnify the
ALBS Cartage Group and will hold harmless the ALBS Cartage Group for any taxes and
penalties that may result from the tax treatment of payments pursuant to this Agreement.

te In consideration of the payments to be provided to Mr. Clarke and other good and
valuable consideration, the sufficiency of which is hereby acknowledged, Mr. Clarke, both
Case 1:13-cv-00134-BMC Document 19-1 Filed 05/20/13 Page 3 of 6 PagelD #: 76

individually and in his capacity as Chief Executive Officer and agent of DC & Son Trucking Inc.
(“DC & Son’), for himself, his heirs, executors, administrators, beneficiaries, successors,
assigns, and on behalf of DC & Son (collectively, “Releasor”), hereby releases and forever
discharges ALBS Cartage and the ALBS Cartage Group (collectively the “Released Parties”)
from all claims, causes of action, demands, obligations, losses, damages, penalties, costs,
expenses, attorneys’ fees, liabilities, and indemnities of any nature whatsoever, whether based in
contract, tort, statute, or other legal or equitable theory of recovery, known or unknown,
suspected or unsuspected, which as of this Agreement Releasor had, now has, or claims to have
against the Released Parties. Mr. Clarke specifically releases, without limitation, any claim
arising under the Age Discrimination in Employment Act of 1967, the New York Labor Law, the
New York City Human Rights Law, the New York State Executive Law, the Americans With
Disabilities Act, Title VII of the Civil Rights Act of 1964, the Family and Medical Leave Act of
1993, the National Labor Relations Act, the Occupational Safety and Health Act of 1970, the
Equal Pay Act, the Fair Labor Standards Act, the New York Minimum Wage Act and the
Regulations thereunder, the Employee Retirement Income Security Act of 1974, and any and all
other federal, state, or local laws, regulations, or rulings. The foregoing release does not include
any claim by Mr. Clarke solely to enforce the terms, conditions, and provisions of this
Agreement or any claims arising after Mr. Clarke executes this Agreement.

Mr. Clarke further releases and waives any right to become, and promises not to
consent to become, a member of any class in a case in which claims are asserted against the
Released Parties that are in any way related to his employment or separation from employment
with the Company. If, without his prior knowledge and consent, Mr. Clarke is made a member
of a class in any proceeding, he will opt out of the class at the first opportunity. Mr. Clarke
further releases and waives to the extent permitted by law his right to any monetary recovery
should any agency or third party pursue any claims on his behalf.

ALBS Cartage hereby releases Mr. Clarke and DC & Son from all claims it has,
had, or may have, known or unknown, prior to the signing of this Agreement, except as provided
herein or as necessary to enforce the terms of this Agreement.

8. Mr. Clarke expressly understands and agrees that Released Parties’ obligations
under this Agreement are in lieu of any and all other pay or benefits which, as of this Agreement,
Mr. Clarke or DC & Son had, now has, or claims to be entitled to receive from any of the
Released Parties, including, without limitation, any right or claim that he may have to
employment or reinstatement with the ALBS Cartage Group, or to any back pay, front pay,
interest, bonuses, damages, accrued vacation, accrued personal time, accrued sick leave, medical,
dental, optical, or hospitalization benefits, accidental death and dismemberment coverage,
issuance of securities, pensions, education benefits, life insurance benefits, overtime, severance
pay, liquidated damages, and/or attorney’s fees. No fact, evidence, event, or transaction
currently unknown to Mr. Clarke but which hereafter may become known to him shall affect in
any way or manner the final and unconditional nature of this Agreement.

Mr. Clarke expressly agrees to protect, indemnify, defend, and hold harmless the ALBS
Cartage Group from and against any and all costs or expenses (including but not limited to
reasonable attorneys’ fees and damages) which they may incur as a result of the assertion of any
Case 1:13-cv-00134-BMC Document 19-1 Filed 05/20/13 Page 4 of 6 PagelD #: 77

claim by any attorney or representative of Mr. Clarke against the ALBS Cartage Group for
attorneys’ fees, costs, or disbursements for services rendered to or on behalf of Mr. Clarke,
except as may specifically be provided for in this Agreement.

a. Mr. Clarke acknowledges that he has read this Agreement and he fully
understands its terms and effect, and signs the Agreement knowingly and voluntarily, without
duress or coercion, and with the intent of being legally bound by it. Mr. Clarke acknowledges
that he is waiving legal rights by signing this Agreement and that he was advised to and has
consulted with an attorney before signing the Agreement. Mr. Clarke affirms that no statements,
representations, or promises have been made to influence him to sign this Agreement other than
those represented herein.

10. Nothing in this Agreement shall preclude Mr. Clarke, ALBS Cartage Corp., or
any member of the ALBS Cartage Group from cooperating with or making truthful disclosures in
response to a court order or inquiry by government or regulatory authorities, to enforce or carry
out the terms of this Agreement, or as otherwise may be required by law, statute, or regulation.
However, by signing this Agreement, Mr. Clarke agrees that he is not entitled to any
compensation from the ALBS Cartage Group in any form, directly or indirectly, in connection
with any claim or cause of action relating to such cooperation or disclosure.

11. This Agreement is expressly conditioned on the United States District Court,
Eastern District of New York, approving this settlement and dismissing Mr. Clarke’s Amended
Complaint against ALBS Cartage Corp. with prejudice. The parties to this Agreement agree that
if approval of the settlement and dismissal with prejudice is not so entered within a reasonable
time and after appropriate efforts, or if the Court conditions dismissal upon any other act not
contemplated in the Agreement, the parties will have the option to rescind this Agreement in its
entirety. In the event either party exercises that right, the parties to this Agreement shall stand in
the same position as if the Agreement had never been prepared or executed, nothing contained in
this Agreement shall be used as an admission against either party, and no party to this Agreement
shall be deemed to have waived or relinquished any of its rights, privileges, claims, or defenses
by having entered into this Agreement.

12. Mr. Clarke will not hereafter apply for or otherwise seek or accept employment,
re-employment, reinstatement with, or other contractual relationship to perform work for the
ALBS Cartage Group or any entity that is, or hereafter becomes, related to the ALBS Cartage
Group, whether as a parent institution, subsidiary, joint venture, or affiliated institution, in any
capacity, whether as an employee, consultant, or independent contractor. If Mr. Clarke becomes
employed, reemployed, or provides any services in contravention of this provision, such
employment or engagement may be immediately terminated and such action shall not form the
basis of any legal claim or litigation.

13. The provisions of this Agreement are severable, and if any part of it is found to be
unenforceable, the other provisions shall remain fully valid and enforceable.

14. Each of the Parties has had the opportunity to participate in the drafting and
preparation of the final language of this Agreement and has been advised, or had the opportunity
Case 1:13-cv-00134-BMC Document 19-1 Filed 05/20/13 Page 5 of 6 PagelD #: 78

to be advised, by their attorneys, regarding the terms, effects, and consequences of this
Agreement. Accordingly, in the construction to be made of this Agreement, this Agreement
shall not be construed as having been drafted solely by or on behalf of one or more of each of the
Parties. The Agreement shall be construed mutually and not applied in favor of or against any
particular party.

cs. This Agreement and the terms contained herein are contractual in nature and not
mere recitals. The terms of this Agreement shall inure to the benefit of the Parties and their

respective successors, assigns, administrators, and trustees.

16. This Agreement shall be governed by, and construed and enforced in accordance
with, the laws of the State of New York, without reference to choice of law principles therein.

rh The failure to enforce any section or subsection hereof shall not constitute a
waiver of such section or subsection.

18. This Agreement shall not constitute a precedent with respect to any other party’s
dealings with ALBS Cartage.

[Continued on the following page]
Case 1:13-cv-00134-BMC Document 19-1 Filed 05/20/13 Page 6 of 6 PagelD #: 79

19, The terms of the Agreement represent the entire agreement between Mr. Clarke
and ALBS Cartage with respect to Mr. Clarke’s claims against ALBS Cartage, and this
Agreement supersedes all prior agreements or understandings, written or oral, between them on
such matters. Nothing may be changed or modified except by a written instrument signed by Mr.
Clarke and ALBS Cartage. It is understood, however, that this Agreement may be executed in
counterparts. each of which shall be deemed an original, but when taken together shall constitute
one and the same Agreement. Emailed or faxed signatures shall be considered the equivalent of
an original signature.

ALBS ¢ARTAG Soke] L/

Arthur bh
President, ALBS Cartage Corp.

Dated:

 

 

Dated: S /ZO/ /%

STATE OF NEW YORK )
SS.
COUNTY OF QUEENS )

Oe the {0 day of May, 2013 before me personally came Daniel Clarke, to me known
arid known to me to be the individual described in and who executed the foregoing
ent, and dulyayknowledged to me that he executed the same.

 
 
 

 

Notary/Public at

et re
Notary [1°

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Cominission Expire:

 
